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IN THE COURT OF COMMON PLEAS
FRANKLIN COUNTY, OHIO

STATE OF OHIO ex re/. Dave Yost,
Ohio Attorney General,
Case No. 20 CV 006281
Plaintiff,

V. . JUDGE CHRIS BROWN

FIRSTENERGY CORP., et al.,

Defendants,

CITY OF CINCINNATI and

CITY OF COLUMBUS, Case No. 20 CV 007005!
Plaintiffs,
V JUDGE CHRIS BROWN

FIRSTENERGY CORP., et al.,

Defendants,

STATE OF OHIO ex rei.

Dave Y hio A
ave Yost, Ohio Attorney General, Case No. 20 CV 0073862

Plaintiff,

y JUDGE CHRIS BROWN
ENERGY HARBOR CORP., et al.,

Defendants.

! City of Cincinnati, et al. v. FirstEnergy Corp., et al., consolidated by order filed Dec. 14, 2020.
? State of Ohio ex rel. Dave Yost v. Energy Harbor Corp., et al., consolidated by order filed Dec. 14, 2020.
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AFFIDAVIT SUPPLEMENTING PLAINTIFF’S MOTION FOR PREJUDGMENT

ATTACHMENT AND ORDER ENTERED AUGUST 12, 2021

Iam Charles M. Miller, Attorney for Plaintiff in the within action; Upon information and belief,

1.

The affidavit filed with Plaintiff's motion for prejudgment attachment August 12, 2021
is incorporated herein;

After additional reasonable investigation and discovery, Affiant believes Randazzo and
Sustainability Funding Alliance of Ohio, Inc. (SFAO) will transfer, dispose of, assign,
or conceal additional assets, not exempt from attachment or execution, for the purpose
of transferring and/or hiding assets from creditors including the State of Ohio.

Those assets include: $500,000 held in trust by Cranberry CT Law LLC, Statutory
Agent Roger P. Sugarman, 6025 Cranberry Court, Columbus, OH 43213; at The
Huntington National Bank, 41 S. High Street, 1‘ Floor, Columbus, OH 43215, account
ending ing.

Additional assets include: $2,500,000 held in trust by Loeb and Loeb, LLP; 10100
Santa Monica Boulevard, Suite 2200, Los Angeles, CA 90067; at City National Bank,
Processing, 350 South Grand Ave., Los Angeles, CA 90071, account ending in

The above $3,000,000 was transferred from the Charles Schwab and Co. account
referenced in the original affidavit, to the above-referenced transferees, on or about
August 2, 2021. Affiant believes all or most of the $3,000,000 is being held in trust
accounts for the benefit of Randazzo, and has not been paid to the law firms for work
already performed. Affiant believes the money was transferred for the purpose of
shielding it from attachment and/or garnishment.

Loeb and Loeb, LLP transacted business in Ohio with Randazzo in connection with the
above transfer, and thereby subjected itself to the jurisdiction of this court.

Affiant has reason to believe Randazzo may transfer, dispose of, assign, or conceal
additional assets, not exempt from attachment or execution, for the purpose of
transferring and/or hiding assets from creditors including the State of Ohio. Those
assets include 1725 Gerrard Ave., Columbus, OH 43212, and 645 South Grant Avenue,
Unit 18, Columbus, OH 43206. The legal descriptions for these properties are filed as
Exhibit F to the original affidavit, filed in the within case August 13, 2021.

Further, SFAO owns, and may transfer, dispose of, assign, or conceal additional assets,
not exempt from attachment or execution, for the purpose of transferring and/or hiding
assets from creditors including the State of Ohio. The legal descriptions for those assets
include:

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a. Situated in the City of Columbus, County of Franklin, and State of Ohio: And
Known as being 492-4 E MOUND ST VETTERLEIN LOT 5-6
Permanent Parcel No. 010-012073-00

b. Situated in the City of Columbus, County of Franklin, and State of Ohio: And
Known as being 493-491 —E NOBLE ST VETTERLEIN LOT 5-6
Permanent Parcel No. 610-100761-00

c. Situated in the City of Columbus, County of Franklin, and State of Ohio: And
Known as being 327 S. Washington Avenue, VETERLEIN SUB. 49.5' NE LOTS 7 &

8.
Permanent Parcel No. 010-006483-06

9. Additionally, Randaz
IMINA3 434

zo owns Vehicles, melding a 1994 Mazda MX-5 Miata, VIN@
, and a pink 2002 Porsche 911 Carrera2/4 convertible,
VINE WPOCA2I9932 - and a 2015 Porsche Macan S, VIN#
WPIAB2ASIFL . These vehicles are kept at one of several locations, mcluding
645 S. Grant St. Columbus, OH 43206.

10. The value of the Porsche 911 is approximately $25,000.
Li. The value of the Mazda is arownd 37,000.

12. The Porsche Macan 8 is worth approximately $33,000. The trle has a lien from Bank
of America, which will be notified of any sheriif’s sale of the vehicle.

FURTHER APFIANT SAYETH NAUGHT.

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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing was submitted to the Clerk’s electronic
filing system for distribution to all parties registered as users with that system and served by
electronic mail or US Mail, postage prepaid, this 17th day of August, 2021, and additional new
parties:

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TEU-OHIO ADMINISTRATION COMPANY, LLC.
C/O Statutory Agent, James H. Gordon

7677 Patterson Road

Hilliard, Ohio 43026

/s/Charles M. Miller
CHARLES M. MILLER (0073844)

